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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                                  )
MONTANA HEALTH CO-OP,                             )
                                                  )
                       Plaintiff,                 )
                                                  )     Case No. 18-143C
       v.                                         )     Judge Elaine D. Kaplan
                                                  )
                                                  )
THE UNITED STATES OF AMERICA,                     )
                                                  )
                       Defendant.                 )
                                                  )


                                    JOINT STATUS REPORT

       Pursuant to the Court’s September 4, 2018 Order (Liability Order), see ECF No. 18,

plaintiff Montana Health CO-OP (Plaintiff or Montana Health) and defendant, the United States,

respectfully submit the following joint status report regarding further proceedings in this case.

       In the Liability Order, the Court ruled that the United States was statutorily obligated to

provide Montana Health with cost-sharing reduction (CSR) payments for the fourth quarter of

2017, and that this obligation was not vitiated by Congress’s failure to appropriate funds for that

purpose. Accordingly, the Court granted Montana Health summary judgment as to liability, with

quantum to be determined at a later date.

       The parties have conferred regarding the quantum due to Montana Health. The United

States represents that the Centers for Medicare & Medicaid Services (CMS) has reconciled the

amounts it has paid to qualified health plan (QHP) issuers in advance CSR payments for benefit

year 2017 against the amount of CSRs each respective issuer has paid on behalf of its insureds

for benefit year 2017. The United States further represents that had a valid appropriation for

CSR payments been available, the amount it would have owed Montana Health for the fourth
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quarter of 2017, following benefit year 2017 reconciliation, is $1,234,058.79. Montana Health

does not dispute this calculation.

       Based on the Government’s representation and Montana Health’s concurrence, and in

consideration of the Court’s Liability Order, the parties submit that no further briefing or

discovery is required in this case. Montana Health respectfully requests that the Court enter a

final order awarding Montana Health $1,234,058.79, which represents the cost-sharing reduction

payments that would have been due and owing to Montana Health for the fourth quarter of 2017

following reconciliation. Montana Health reserves the right to litigate future claims that may

arise from the Government’s failure to make payments under Section 1402 of the Patient

Protection and Affordable Care Act, including for benefit years 2018 and 2019. In light of the

Court’s Liability Order, the United States does not object to the entry of an order regarding the

quantum of damages. However the United States reserves all rights to seek further review of the

Court’s rulings in this matter.




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Respectfully submitted,

Dated: October 4, 2018

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